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 3                      IN THE UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF CALIFORNIA
 5

 6
     UNITED STATES OF AMERICA,             )      Case No. 1:13-cr-00374-AWI-BAM
 7                                         )
           Plaintiff,                      )
 8                                         )      ORDER TO SET CHANGE OF
                                           )      PLEA HEARING
 9         v.                              )
                                           )      Date: 5/5/2014 at 10:00 a.m.
10   LEOPOLDO RODRIGUEZ,                   )
                                           )
11         Defendant.                      )
12

13         Based on the stipulation between counsel, it is hereby ordered as follows:

14         That a change of plea hearing for LEOPOLDO RODRIGUEZ be set on May
15
     5, 2014, at 10:00 a.m. before the Honorable Anthony W. Ishii, Senior District Judge
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     of the Eastern District. Time has previously been waived by defendant under the
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18   Speedy Trial Act pursuant to 18 U.S.C. 3161(h)(7)(A) and (B)(iv) until June 9,
19
     2014. Therefore no further waiver is need.
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22   IT IS SO ORDERED.

23   Dated: April 24, 2014
                                          SENIOR DISTRICT JUDGE
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